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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                         v.                        ) Case No. 1:21-cr-160-TJK
                                                   )
 CORY KONOLD, et al.,                              )
                                                   )
         Defendants.                               )
                                                   )

DEFENDANT CORY KONOLD’S UNOPPOSED MOTION TO MODIFY CONDITIONS
                    OF PRETRIAL RELEASE

       Defendant Cory Konold, through counsel, moves the Court to modify the conditions of

his pretrial release by lifting the requirement that he wear a GPS electronic monitoring ankle

bracelet at all times. Release Order, ECF No. 38, § 7(q). The government and Pretrial Services

Office do not oppose the relief sought by this motion.

       Konold has been in compliance with his conditions of pretrial release for the past eleven

months. ECF No. 127. He is currently employed as a line installer by Cox Communications.

The requirement that he wear an electronic monitoring ankle bracelet has interfered with his

ability to earn income sufficient to support himself. With the bracelet on, his employer has

limited Konold to what is known as yard work. In this role Konold earns significantly less than

he would in the field. He is struggling to pay for groceries and other necessities. However, his

employer has indicated that if Konold’s ankle bracelet were removed, he could again work in the

field at a higher hourly rate of pay.

       The government has advised that it does not oppose removal of the bracelet and

termination of Konold’s current 9 p.m. to 6 a.m. curfew. Counsel inquired with Konold’s

Pretrial Services Officer, Manny Calderon, whether he would oppose this relief. Officer

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Calderon said that Konold has been in compliance with his conditions of release and would not

oppose the proposed relief. Christine Schuck, Pretrial Services Officer in this district, indicated

the same.

       Konold therefore requests that the Court lift the requirement that he be subject to the

location monitoring program, so that he may pursue gainful employment.

Dated: January 5, 2022                        Respectfully submitted,

                                              /s/ Nicholas D. Smith______________
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                                      Certificate of Service

       I hereby certify that on the 5th day of January, 2022, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

                Christopher K. Veatch
                Assistant United States Attorney
                219 S. Dearborn Street, 5th Floor
                Chicago, IL 60604
                312-886-3389

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                      /s/ Nicholas D. Smith




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